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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:20−cr−00299
                                                         Honorable Robert M. Dow Jr.
Hardy Lee Browner
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Sunday, June 28, 2020:


        MINUTE entry before the Honorable Robert M. Dow, Jr. as to Hardy Lee
Browner (1): Government's unopposed motion for entry of a protective order [10] is
granted. Signed order to follow. Notice of motion date of 6/30/2020 is stricken and no
appearances are necessary on that date. Because Judge Dow will not be in court on
7/29/2020, which is the next scheduled hearing date, counsel are requested to email the
Courtroom Deputy to reset that status hearing to some date after August 10. Mailed notice
(cdh, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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